Donald James Runnals FUL ED

c/o 9 Middle Road
Lafayette, California state DEC J 4 2023 ey
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NORTHERN DISTRICT orm

CALIFORNIA

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF CALIFORNIA
OAKLAND DIVISION

In re Case Account/Case # 23-41137 WJL
Donald James Runnals, (Chapter 7)

DEBTOR’S OBJECTION TO
CHAPTER 7 TRUSTEE’S REPORT OF
Petitioner, Debtor NO DISTRIBUTION FILED 11/08/2023

TO THE HONORABLE WILLIAM J. LAFFERTY AND ALL PARTIES OF INTEREST:

COMES NOW the Debtor, Donald James Runnals, who relies upon Haines v. Kerner,
(1972), 404 U.S. 519 in the above-captioned matter, to give notice that Debtor,
pursuant to Haines v. Kerner, hereby serves notice that Debtor out of the abundance of
caution Objects to CHAPTER 7 TRUSTEE, JANINA M. HOSKINS, Trustee’s “Chapter 7
Trustee's Report of No Distribution” posted 11-8-2023 pending clarification of its

content as follows:

| INTRODUCTION
1. That Debtor contends that Janina M. Hoskins’, Trustee Chapter 7 “Trustee's
Report of No Distribution” is unclear to Debtor in its stated context and Debtor is a pro
se petitioner and thereby objects to said report out of the abundance of caution and
therefore seeks clarification of the contents of said Trustee’s Report along the lines of
who, what, where, when, how and why of it in simpler terms that someone like Debtor
can understand what is the intent of said report. What does it connote, denote, suggest,

etc.? What does it mean?

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2. That Debtor has read the contents of the posted statement on the Docket registry

posted on November 8, 2023, by Ms. Hoskins. See copy cited below.

Chapter 7 Trustee's Report of No Distribution: I, Janina M. Hoskins, having been
appointed trustee of the estate of the above-named debtor(s), report that | have neither
received any property nor paid any money on account of this estate; that | have made a
diligent inquiry into the financial affairs of the debtor(s) and the location of the property
belonging to the estate; and that there is no property available for distribution from the
estate over and above that exempted by law. Pursuant to Fed R Bank P 5009, | hereby
certify that the estate of the above-named debtor(s) has been fully administered. |
request that | be discharged from any further duties as trustee. Key information about
this case as reported in schedules filed by the debtor(s) or otherwise found in the case
record: This case was pending for 2 months. Assets Abandoned (without deducting any
secured claims): $ 1698887.00, Assets Exempt: Not Available, Claims Scheduled: $
1233850.00, Claims Asserted: Not Applicable, Claims scheduled to be discharged
without payment (without deducting the value of collateral or debts excepted from
discharge): $ 1233850.00. Meeting of Creditors Held. Debtor appeared. (Hoskins,
Janina) (Entered: 11/08/2023) 3. That posted statement refers to Fed R Bank P
5009. Debtor searched the internet and found that rule and read the same. Rule
5009 (a) states:

(a) Closing of Cases Under Chapters 7, 12, and 13. Ifin a chapter 7, chapter 12,

or chapter 13 case the trustee has filed a final report and final account and has
certified that the estate has been fully administered, and if within 30 days no objection
has been filed by the United States trustee or a party in interest, there shall be a
presumption that the estate has been fully administered. Emphasis added bold mine

The Rule 5009 (a) above states “the trustee has filed a final report and final
account.” Debtor is not in receipt of evidence that any such final report and final
account has ever been filed of record since the November 8, 2023, notice on the docket
registry. Where is said final report and final account? Debtor has not received any such

documentation.

4. That Debtor seeks answers to: What does “Assets Abandoned (without deducting
any secured claims): $1698887.00, mean? Who does this affect in terms of rights of
interest? What does “Assets Exempt: Not Available, Claims Scheduled: $1233850.00”
mean? What specific medium of exchange are the above figure expressed in terms of?
Debtor respectfully request clarification of Trustee’s Report of No Distribution and
therefore out of the abundance of caution objects to said report due to said report being
unintelligible to Debtor being not one without Ms. Janina Maria Hoskins’ #161418 legal

training and proficiency.

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5. Further why does Ms. Hoskins a legally trained counselor at law cite Fed R Bank
P 5009 and Title 11 U.S.C. Section 330(e) as the source of authority to apply within the
exterior territorial jurisdiction of California state when the legislative intent of the

territorial application of Title 11 U.S.C is set by Congress at section 101(52) of said Title

11 as follows:

(52) The term "State" includes the District of Columbia and Puerto Rico,
except for the purpose of defining who may be a debtor under chapter 9 of this

title. Emphasis added bold mine
Includes: "A term of limitation." - Ex parte Martinez, 56 Cal. App. 2d 473, 132 P.
2nd 901, 903.

Is Ms. Hoskins of the opinion that California state is included in the definition contained
in section 101(52) of Title 11 U.S.C.? Is not Trustee Ms. Hoskins’ application of Title 11

U.S.C. beyond the territorial limitations enacted by Congress unconstitutional, thus, a
violation of the supreme Law of the land?

6. That Debtor respectfully requests answers to the above questions that Debtor
may be able to take the next step/s in the protection of Debtor’s constitutionally secured
property rights. See Article |, Section 1 of California Constitution. Debtor seeks a little

instructive relief here, please.

| declare under penalty of perjury under the laws of the United States of America,
that the foregoing statements are true, correct to my current knowledge, understanding,
belief and complete and not meant to mislead anyone.

MIL

Executed on December12/11/23 , 2023 By:

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Donald James Runnals
c/o 9 Middle Road
Lafayette, California state

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF CALIFORNIA
OAKLAND DIVISION

Inre Case Account/Case # 23-41137 WJL
Donald James Runnals, (Chapter 7)
Debtor. Declaration of Service

|, declare as follows:
| am over the age of eighteen years old and not a party to the within action.

On December _ 11 , A.D. 2023 | served by U.S. Mail a true copy of DEBTOR’S
OBJECTION TO CHAPTER 7 TRUSTEE’S REPORT OF NO DISTRIBUTION FILED
11-8-2023 in the UNITED STATES BANKRUPTCY COURT, NORTHERN DISTRICT OF
CALIFORNIA, OAKLAND DIVISION to:

Janina M. Hoskins, Trustee
P.O. Box 158

Middletown, CA 95461
707-483-2910

And that | served the same by depositing in an envelope a copy of the above stated
documents, sealed the same and paid the required postage for mailing which was sent
to the addresses herein which has service for U.S. Mail available.

| declare under penalty of perjury under the laws of the United States of America that
the foregoing is true and correct.

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Executed on: 12/11/2023 By: 2

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